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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

            -against-                                             ORDER

VICENTE ROBLES CASTRO, JR.,                                   19 Cr. 753 (PGG)

                        Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              It is hereby ORDERED that the sentencing of Defendant, scheduled for

November 12, 2020, will now take place on February 10, 2021 at 4:00 p.m. Any submissions

on behalf of the Defendant are due January 22, 2021, and any submission by the Government is

due on January 29, 2020.

Dated: New York, New York
       October 30, 2020
